    Case 04-03774                 Doc 105-3 Filed 12/11/06 Entered 12/11/06 07:23:42                        Desc
                                        Proposed Order Page 1 of 1



                           IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VICKI ESRALEW                             )
                                          )
      Debtor,                             )
__________________________________________)
                                          )
ROLLIN SOSKIN, et. al.                    )
                                          )
             Plaintiffs                   )                                            No. 04 A 3774
                                          )
             v.                           )                                            Judge Goldgar
                                          )
VICKI ESRALEW                             )
                                          )
             Defendant                    )

                                                               ORDER

       THIS CAUSE coming on to be heard upon the Motion of Defendant VICKI ESRALEW
For Leave to Amend her Affirmative Defenses in the above-captioned cause, due notice having
been given to all parties in interest and the Court being fully advised in the premises,

          NOW THEREFORE, IT IS HEREBY ORDERED THAT:

      1.     Defendant is granted leave to amend her Affirmative Defenses herein to add her
Affirmative Defense that certain of Plaintiffs’ claims are barred by the statute of limitations.



Prepared By:                                                                           ENTER:
       Carey M. Stein
       ASHMAN & STEIN #37710
       150 North Wacker Drive                                                          __________________________
       Suite 3000                                                                      Bankruptcy Judge
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